
— Order denying defendant’s motion to modify a final judgment herein by reducing the amount of alimony, and directing defendant to pay to plaintiff the sum of $150 as a counsel fee, and $30 as disbursements, modified on the facts by striking out the third ordering paragraph and by providing, in lieu thereof, that the application for counsel fee and disbursements be denied. As so modified, the order is affirmed, with $10 costs and disbursements to the respondent. In the light of all the circumstances, particularly the arrears of alimony which remain to be paid by defendant, we are of opinion that there should be no departure in this case from the well-settled rule that an allowance will not be made for past expenses. Lewis, P. J., Hagarty, Adel, Aldrich and Nolan, JJ., concur.
